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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 1:20-cr-00174-DCN
                      Plaintiff,
                                                 ORDER ADOPTING REPORT AND
          v.                                     RECOMMENDATION

  JAMES TYLER FERGUSON,

                      Defendant.


       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. Dkt. 193. On November 9, 2021, Defendant, James Tyler Ferguson

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Count One of the

Second Superseding Indictment (Dkt. 41), and that it was entered voluntarily and with full

knowledge of the consequences. No objections to the Report and Recommendation have

been filed.

       The Court now has reviewed the record, and find that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of Rule

11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the result of



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force or threats or promises apart from the plea agreement; and that a factual basis for the

plea exists. See id. Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation (Dkt. 193) shall

be, and the same is hereby, ADOPTED as the decision of the District Court and

incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the Second Superseding Indictment (Dkt. 41), shall be, and the

same is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that the Defendant, James Tyler Ferguson is found to

be GUILTY as to the applicable crimes charged in the Second Superseding Indictment.

Dkt. 41.

                                                 DATED: December 2, 2021


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




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